       Case 18-58254-jwc              Doc 9 Filed 05/17/18 Entered 05/17/18 10:43:46                   Desc 2-19-13
                                           Order Grant Appl. Inst Page 1 of 1
                                          UNITED STATES BANKRUPTCY COURT
                                               Northern District of Georgia
                                                    Atlanta Division

In Re: Debtor(s)
       Vanessa Wilkerson Woods                                        Case No.: 18−58254−jwc
                                                                      Chapter: 13



   ORDER GRANTING APPLICATION TO PAY FILING FEE IN INSTALLMENTS FOR
                    INDIVIDUALS OR JOINT DEBTORS


       Debtor or Debtors (hereinafter "Debtor") has filed an application to pay the filing fee for the voluntary petition in
installments, and has remitted the initial payment. Accordingly, it is ORDERED that:

        1. Debtor's application is granted, and Debtor shall pay an amount not less than one−half of the unpaid balance of
the filing fee as the second installment within 30 days of the petition date; and Debtor shall pay the remaining unpaid
balance of the filing fee as the final installment within 60 days of the petition date:

       Second installment of $117.50 on or before June 15, 2018.
       Final installment of $117.50 on or before July 16, 2018.

For payments by mail, remit using cashier's check, money order or attorney's check made payable to "Clerk,
United States Bankruptcy Court" to the address listed below:


                                                  United States Bankruptcy Court
                                                   1340 Richard Russell Building
                                                     75 Ted Turner Drive, SW
                                                        Atlanta, GA 30303

For payments made by hand delivery to a divisional office in Gainesville, Newnan or Rome, note that cash is not
accepted. You must remit using cashier's check, money order or attorney's check. The Atlanta divisional office
will accept these forms of payment as well as cash.

      2. Failure by Debtor to pay timely the second or final filing fee installment will constitute cause warranting
dismissal of the case without opportunity for hearing.

      3. In accordance with Bankruptcy Rule 1006(b)(3), until the filing fee is paid in full, Debtor shall not pay, and no
person shall accept, any money for services in connection with Debtor's case, and Debtor shall not relinquish, and no
person shall accept, any property as payment for services in connection with this case.

       The Clerk will serve this Order upon Debtor, Debtor's counsel, and Trustee.

   IT IS SO ORDERED, on May 17, 2018 .




                                                                      Jeffery W. Cavender
                                                                      United States Bankruptcy Judge
Form 304 (Standard Order Granting Application to Pay Filing Fee in Installments − Revised June 2015)
